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FILE NO. 69839.146945
July 2, 2021

VIA ELECTRONIC FILING

The Honorable Lorna G. Schofield
United States District Judge
Southern District of New York
500 Pearl Street

New York, New York 10007

Re: Dos Bowies, LP, et al. v. Michael Ackerman, et al.
Case No. 1:20cv02479

Dear Judge Shofield:

This firm represents defendant, Dr. Quan Tran, in the above-referenced case. In its
March 30, 2021, order, the Court directed that counsel for Dr. Tran file by April 30, 2021, a
status letter informing the Court of the status of Dr. Tran's bankruptcy proceeding. [Dkt. 51]
Counsel inadvertently overlooked timely filing this second sixty day status letter, and it is being
filed as directed in the Court's July 1, 2021, order. [Dkt. 54]

Dr. Tran filed a Chapter 7 petition with the United States Bankruptcy Court for the
Middle District of Florida, Tampa Division, on July 29, 2020. Michael Markham, a partner of
the undersigned, is counsel of record for Dr. Tran in the bankruptcy case. The Chapter 7
bankruptcy case remains open and pending and the automatic stay remains in full force and
effect.

Sincerely,

QR
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SCI/dh

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